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|N THE UN|TED STATES D|STR|CT COURT
FOR THE SOUTHERN D|STR|CT OF TEXAS
GALVESTON D|V|SlON

CAROL|NA MAYEUX
Plaintiff,

v. C|VlL ACT|ON NO.

STATE FARM lNSURANCE CON|PANY
AND BROWN CONSULT|NG SERV|CES
Defendant.

@womco)omomcmcm

 

DEFENDANT’S NOT|CE OF REMOVAL

 

TO THE UN|TED STATES D|STR|CT CLERK:

PLEASE TAKE NOT|CE that Defendant, State Farm Lloyds (erroneously named
as “State Farm insurance Company"), hereby removes to this Court, the State Court
action described be|oW.

Procedura| Background

1. On or about February 5, 2015, Caro|ina Nlayeux filed Plaintiff’s Original
Petition in Cause No. 15-CV-O114 in the 212th Judicia| District Court of Ga|veston
Countyl Texas1 initiating an action identifying State Farm Lloyds (incorrect|y named as
"State Farm insurance Company") and Brown Consu|ting Services as Defendants.
Plaintiff has subsequently dismissed Brown Consu|ting Services as a Defendant to this
lawsuit. The Order of Dismissal Was signed on or about February 26, 2015, Therefore,
the only remaining Defendant is State Farm Lloyds.

2. The Citation and Petition was sent to State Farm Lloyds via certified mail

and State Farm Lloyds received the Citation and P|aintiff's Original Petition on or about

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February 9, 2015. Defendantl State Farm Lloyds, filed an Original Answer and Request
for Jury Trial. State Farm Lloyds is also filing a Notice of Removal of Civil Action in the
State Court action.

Mf_fbss_uif

3. According to Plaintiff’s Original Petition, this lawsuit arises out of a claim
for alleged damage to the dwelling owned by lVls. lVlayeux under a policy of insurance
issued by State Farm. ln her Original Petition, P|aintiff alleges multiple claims and
causes of action against State Farm Lloyds including breach of contract, breach of duty
of good faith and fair dealing, non-compliance with Sections 541 and 542 of the Texas
lnsurance Code and non-compliance with the Texas Deceptive Trade Practices Act.
P|aintiff further alleges State Farm Lloyds violated the lnsurance Code “knowingly," as
that term is used in the applicable statute.

Basis for Remova|

4. This Court has original jurisdiction under 28 U.S.C. § 1332 over this civil
action, and the action may be removed by Defendant pursuant to 28 U.S.C. § 1441(b),
in that it is a civil action between citizens of different states, and the matter in
controversy exceeds the sum of $75,000.00 exclusive of interest and costs.

5. Based upon information and belief, Plaintiff was, at the time this action
was commenced, and still is a citizen of the State of Texas. Plaintiff's Original Petition
states that P|aintiff is a resident of the State of Texas.

6. Defendant State Farm Was at the time this action was commenced, and
still is, a citizen of ll|inois. State Farm is a "Lloyd's Plan" organized under chapter 941 of

the Texas insurance Code. lt consists of an unincorporated association of underwriters

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who were at the time this action was commenced, and still are, all citizens and residents
of lllinois, thereby making State Farm a citizen of illinois for diversity purposes See
Royai lns. Co. of Arn. v. Quinn-L Capital Corp., 3 F.3d 877, 882-83 (5th Cir. 1993)
(citizenship of unincorporated association determined by citizenship of members).
Therefore, complete diversity of citizenship exists between Plaintiff and State Farm.

7. The amount in controversy in this action exceeds $75,000.00, exclusive of
interest and costs. See Chiffick v. Farmers lns. Exchange, 844 F. Supp. 1153, 1155-56
(S.D_ Tex. 1994). Plaintiff has asserted numerous claims and causes of action against
State Farm Lloyds seeking not only actual damages, but also consequential and
statutory damages. Further, Plaintiff is seeking to recover attorneys’ fees. Plaintiff's
Original Petition states that Plaintiff is seeking monetary relief of more than $50,000.00,
but not more than $100,000.00. Defendant reasonably believes that Plaintiff, based
upon the pleadings filed to date, is seeking to recover an amount in excess of
$75,000.00.

Remova| is Procedurally Correct

8. Plaintiff filed her Original Petition on or about February 5, 2015. State
Farm Lloyds received the citation and Plaintiff's Original Petition on or about February
9, 2015. Therefore, Defendant filed this notice of removal within the 30-day time period
required by 28 U.S.C. § 1446(b). Alsol this notice of removal is being filed less than
one year after the commencement of the State Court Action. Additiona|ly, State Farm is
the only remaining Defendant in this lawsuit. Brown Consu|ting Services was dismissed

as a Defendant in this lawsuit on or about February 26, 2015.

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10. Venue islproper in this district under 28 U.S.C. § 1446(a) because this
district and division embrace the place in which the removed action was pending and
because a substantial part of the events giving rise to the Plaintiff's claims allegedly
occurred in this district

11. |n accordance with 28 U.S.C. § 1446(a), copies of all process, pleadings,
and orders served upon State Farm in the State Court Action are attached as part of the
Removal Documents.

12. Pursuant to 28 U.S.C. § 1446(d), Written notice of the filing of Defendant's
Original Notice of Removal Was promptly given to all parties and to the clerk of 212th
Judioia| District Court, Galveston County, Texas.

13. All documents required by Local Rule 81 to be filed with this Notice of
Removal are attached as part of the Removal Documents.

PRA¥ER

State Farm Lloyds respectfully requests that the State Court Aotion be removed
and placed on this Court's docket for further proceedings. State Farm also requests any
additional relief to which it may be entitled.

Respectfu||y submitted,

RAMEY, CHANDLER, QulNN 81 ZlTo, P.C.
/s/ Bn'an M. Chandler

Brian lVl. Chandler

State Bar No. 04091500

Federal Bar No. 7660

ONE BER|NG PARK

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(713) 266-0074 Telephone
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A`|_|'ORNE¥ FOR DEFENDANT
STATE FARN| LLOYDS

Certificate of Service

l hereby certify that a true and correct copy of the foregoing has been served on
the following by either Certified l\/laill Return Receipt Requested, hand-delivery or
facsimile transmission on this the UH‘ day of |Vlarch, 2015.

Shawn W. Hodge

Hodge Law Firm, PLLC
O|d Galveston Square
2211 The Strand, Suite 302
Galveston, Texas 77550

/s/ Bn'an M. Chandler

Notice of Removal - lVlayeux, Caro|ina

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CAUSE NO. 15-CV-0114

CAROL|NA lVlAYEUX lN THE D|STR|CT COURT OF
Plaintiff,
VS. GALVESTON COUNTY, TEXAS

STATE FARlVl LLOYDSl ET AL
Defendant.

CO'H¢O‘)BO'J&O’|OO'!¢O’J¢O)

212TH JUD|C|AL D|STR[CT COURT

 

NOT|CE OF REMOVAL OF C|VlL ACT|ON TO THE UN|TED STATES D|STR|CT
COURT FOR THE SOUTHERN D|STR|CT OF TEXAS (GALVESTON D|V|SlON)

 

TO THE CLERK OF THE ABOVE-ENTlTLED COURT:

PLEASE TAKE NOT|CE that on lVlarch 11, 2015, Defendant, STATE FAR|V|
LLOYDS, filed its Notice of Removal in the United States District Court for the Southern
District of Texas (Galveston Division). The Notice of Removal effects the removal, and the
State Court shall proceed no further unless and until the case is remanded. 28 U.S.C. §
1446(d). Counsel for Plaintiff is being provided with the Notice of Removal and this Notice.

The Notice of Removal is attached as Exhibit “A”

Respectfully submitted,

RA|VlEY, CHANDLER, QU|NN &Z|TO P.C.

By////j////

nan lVl. Chandler
SBN: 04091500
Federal Bar No. 7660
750 Bering Drivel Suite 600
Houstonl Texas 77057
Telephone: (713) 266-0074
Facsimile: (713)266-1064

ATTORNEY FOR DEFENDANT
STATE FARN| LLOYDS

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_ERT|F|CATE OF SERV|CE

l certify that a true and correct copy of the foregoing Was duly served upon counsel

of record by electroniifiling and/or certified maill return receipt requestedr facsimile or
hand delivery on L- '+L" day of lVlarch, 2015 as follows:

Shawn W. Hodge

Hodge Law Firm, PLLC

Old Galveston Square
2211 The Strand, Suite 302
Galveston, Texas 77550

/s/Bn'an M. Chandler
Brian Nl. Chandler

Notice of Removal to Federal Court - Nlayeux, Carolina Page 2

